                                              Master
                  Case 20-33233 Document 1448-3  FiledService
                                                       in TXSBList  (as of 10/19/2020
                                                               on 10/19/20             06:00:31)
                                                                            Page 1 of 35

ADAMS AND REESE LLP                                    ADDAX MINERALS FUND, L.P.
(COUNSEL FOR CGG LAND (U.S.), INC.)                    ATTN RYAN WATTS
ATTN SCOTT R. CHEATHAM, ESQ.                           5950 BERKSHIRE LANE, SUITE 1250
701 POYDRAS STREET, SUITE 4500                         DALLAS, TX 75225
NEW ORLEANS, LA 70139




AKERMAN LLP                                            AKERMAN LLP
(COUNSEL FOR ETC)                                      (COUNSEL TO ETC)
ATTN JOHN E. MITCHELL, DAVID W. PARHARM, YELENA        ATTN KATHERINE C. FACKLER
ARCHIYAN                                               50 NORTH LAURA STREET, SUITE 3100
2001 ROSS AVENUE, SUITE 3600                           JACKSONVILLE, FL 32202
DALLAS, TX 75201




AKERMAN LLP                                            AKIN GUMP STRAUSS HAUER & FELD LLP
(COUNSEL FOR ETC)                                      (COUNSEL FOR FRANKLIN ADVISERS, INC.)
ATTN EVELINA GENTRY                                    ATTN: MARTY L. BRIMMAGE, JR.
601 WEST FIFTH STREET, SUITE 300                       2300 N. FIELD STREET, SUITE 2300
LOS ANGELES, CA 90071                                  DALLAS, TX 75201




AKIN GUMP STRAUSS HAUER & FELD LLP                     AL. DEPT OF ENVIRONMENTAL MANAGEMENT
(COUNSEL FOR FRANKLIN ADVISERS, INC.)                  PO BOX 301463
ATTN: MICHAEL S. STAMER, MEREDITH A. LAHAIE,           MONTGOMERY, AL 36130-1463
GARY A. RITACCO
ONE BRYANT PARK
BANK OF AMERICA TOWER
NEW YORK, NY 10036




ALABAMA DEPT OF CONSERVATION &                         ALABAMA DEPT OF PUBLIC HEALTH
NATURAL RESOURCES                                      THE RSA TOWER
64 N UNION ST                                          201 MONROE ST
MONTGOMERY, AL 36130                                   MONTGOMERY, AL 36104
                                            Master
                Case 20-33233 Document 1448-3  FiledService
                                                     in TXSBList  (as of 10/19/2020
                                                             on 10/19/20             06:00:31)
                                                                          Page 2 of 35

ALABAMA DEPT OF PUBLIC HEALTH                        ALASKA DEPT OF ENVIRONMENTAL
PO BOX 303017                                        CONSERVATION
MONTGOMERY, AL 36130-3017                            410 WILLOUGHBY AVE STE 303
                                                     PO BOX 111800
                                                     JUNEAU, AK 99811-1800




ALASKA ENVIRONMENTAL PROTECTION AGENCY               ANDERSON LEHRMAN BARRE & MARAIST, LLP
EPA ALASKA OPERATIONS OFFICE                         (COUNSEL TO ARCHROCK PARTNERS OPERATING LLC)
222 W 7TH AVE #19                                    ATTN KEVIN M. MARAIST
ANCHORAGE, AK 99513-7588                             GASLIGHT SQUARE
                                                     1001 THIRD STREET, STE. 1
                                                     CORPUS CHRISTI, TX 78404




ANDREW MYERS, P.C.                                   ANDREW MYERS, P.C.
(COUNSEL FOR ENTERPRISE TEXAS PIPELINE LLC,          (COUNSEL FOR CNOOC)
ENTERPRISE CRUDE OIL LLC, ENTERPRISE HYDROCARBONS    ATTN EDWARD L. RIPLEY, LISA M. NORMAN, PATRICK
L.P.)                                                KELLY
ATTN: . JOSH JUDD, EDWARD L. RIPLEY                  1885 SAINT JAMES PLACE, 15TH FLOOR
1885 SAINT JAMES PLACE, 15Y FLOOR                    HOUSTON, TX 77056
HOUSTON, TX 77056




ARKANSAS DEPT OF ENVIRONMENTAL QUALITY               ARKANSAS OIL AND GAS COMMISSION
5301 NORTHSHORE DRIVE                                301 NATURAL RESOURCES DR
NORTH LITTLE ROCK, AR 72118-5317                     SUITE 102
                                                     LITTLE ROCK, AR 72205




ARNOLD & PORTER KAYE SCHOLER LLP                     ARNOLD & PORTER KAYE SCOLER LLP
(COUNSEL FOR GLAS USA)                               (COUNSEL FOR GLAS USA)
ATTN: GINER CLEMENTS, ESQUIRE                        ATTN: JONATHAN I. LEVINE, ESQUIRE
70 WEST MADISON STREET, SUITE 4200                   250 WEST 55TH STREET
CHICAGO, IL 60602-4231                               NEW YORK, NY 10019-9710
                                              Master
                  Case 20-33233 Document 1448-3  FiledService
                                                       in TXSBList  (as of 10/19/2020
                                                               on 10/19/20             06:00:31)
                                                                            Page 3 of 35

B&L PIPECO SERVICES INC                                B.D. GRIFFIN
STEVE TAIT                                             501 N. THOMPSON, SUITE 300
20465 TEXAS 249 ACCESS RD #200                         CONROE, TX 77301
HOUSTON, TX 77070




BAKER HUGHES A GE COMPANY LLC                          BALCH & BINGHAM LLP
LORENZO SIMONELLI                                      (COUNSEL FOR BANK OF AMERICA)
17021 ALDINE WESTFIELD RD                              ATTN LLOYD A. LIM, RACHEL THOMPSON KUBANDA
HOUSTON, TX 77073                                      811 LOUISIANA STREET, SUITE 1010
                                                       HOUSTON, TX 77002




BARRY BROUGHTON                                        BLACK, MCCUSKEY, SOUERS & ARBAUGH, LPA
(COUNSEL FOR HENRY NEWTON BELL, III)                   (COUNSEL FOR THE DOUGLAS HOUCKE TRUST)
P.O. BOX 152404                                        ATTN CHRYSANTHE E. VASSILES
AUSTIN, TX 78715-2404                                  220 MARKET AVE., SOUTH, SUITE 1000
                                                       CANTON, OH 44702




BONDS ELLIS EPPICH SCHAFER JONES LLP                   BONDS ELLIS EPPICH SCHAFER JONES LLP
(COUNSEL TO CITY OF CLEBURNE)                          (COUNSEL FOR MARATHON OIL COMPANY)
ATTN JOHN Y. BONDS, III, BRYAN C. ASSINK               ATTN CLAY M. TAYLOR, J. ROBERTSON CLARKE
420 THROCKMORTON STREET, SUITE 1000                    420 THROCKMORTON STREET, SUITE 1000
FORT WORTH, TX 76102                                   FORT WORTH, TX 76102




BONDS ELLIS EPPICH SCHAFTER JONES LLP                  BRACEWELL LLP
(PILOT THOMAS LOGISTICS, LLC)                          (COUNSEL FOR KINDER MORGAN)
ATTN JOSHUA N. EPPICH, BRYAN C. ASSINK                 ATTN WILLIAM A. (TREY) WOOD III, ROBERT G. BURNS,
420 THROCKMORTON STREET, SUITE 1000                    D. KIRK MORGAN II, JONATHAN L. LOZANO
FORT WORTH, TX 76102                                   711 LOUISIANA STREET, SUITE 2300
                                                       HOUSTON, TX 77002
                                             Master
                 Case 20-33233 Document 1448-3  FiledService
                                                      in TXSBList  (as of 10/19/2020
                                                              on 10/19/20             06:00:31)
                                                                           Page 4 of 35

BRADLEY ARANT BOULT CUMMINGS LLP                      BRADLEY MURCHISON KELLY & SHEA LLC
(COUNSEL FOR CACTUS WELLHEAD, LLC)                    (COUNSEL FOR J. FLEET AND MARTIN)
C/O N. CHRISTIAN GLENOS                               ATTN DAVID R. TAGGART
1819 FIFTH AVENUE NORTH                               401 EDWARDS STREET, SUITE 1000
BIRMINGHAM, AL 35203                                  SHREVEPORT, LA 71101




BRANSCOMB PLLC                                        BROWN RUDNICK LLP
(COUNSEL TO MARY ANN WHEELER                          (COUNSEL TO THE UCC)
ATTN PATRICK H. AUTRY                                 ATTN ROBERT J. STARK, BENNETT S. SILVERBERG
8023 VANTAGE DRIVE                                    SEVEN TIMES SQUARE
SUITE 560                                             NEW YORK, NY 10036
SAN ANTONIO, TX 78230




BROWN RUDNICK LLP                                     BUREAU OF LAND MANAGEMENT
(COUNSEL FOR THE UCC)                                 MONTANA STATE OFFICE
ATTN JEFFREY L. JONAS, SUNNI P. BEVILLE               5001 SOUTHGATE DR
ONE FINANCIAL CENTER                                  BILLINGS, MT 59101-4669
BOSTON, MA 02111




BURK & BURK                                           BURLESON COUNTY
(COUNSEL FOR KINETIC)                                 100 W BUCK ST STE 303
ATTN ROBERT E. BURK                                   CALDWELL, TX 77836-1764
12835 E. ARAPAHOE ROAD
TOWER 2, SUITE 700
CENTENNIAL, CO 80112




BURLESON COUNTY                                       CACTUS WELLHEAD LLC
100 WEST BUCK, SUITE 104                              SCOTT BENDER
CALDWELL, TX 77836                                    920 MEMORIAL CITY WAY
                                                      SUITE 300
                                                      HOUSTON, TX 77024
                                             Master
                 Case 20-33233 Document 1448-3  FiledService
                                                      in TXSBList  (as of 10/19/2020
                                                              on 10/19/20             06:00:31)
                                                                           Page 5 of 35

CAPEX CONSULTING GROUP                                CHAMBERLAIN HRDLICKA
ATTN CAPEX CONSULTING GROUP                           (COUNSEL FOR TRIBUTARY RESOURCES LLC)
3425 MAIN STREET, SUITE 235-171                       ATTN JARROD B. MARTIN
FRISCO, TX 75033                                      1200 SMITH STREET, SUITE 1400
                                                      HOUSTON, TX 77002




CHAMBERLAIN, HRDLICKA, WHITE, WILLIAMS &              CHESAPEAKE ENERGY CORPORATION
AUGHTRY, PC                                           6100 NORTH WESTERN AVENUE
(COUNSEL FOR TRIBUTARY RESOURCES, LLC)                OKLAHOMA CITY, OK 73118
ATTN TYLER W. GREENWOOD
1200 SMITH STREET, 14TH FLOOR
HOUSTON, TX 77002




CHIEF OIL & GAS LLC                                   CHRISTENSEN LAW GROUP, P.L.L.C.
JOHN HINTON                                           (COUNSEL FOR STONE CREEK OPERATING, LLC)
8111 WESTCHESTER DRIVE                                ATTN JEFFREY E. TATE
SUITE 900                                             THE PARKWAY BUILDING
DALLAS, TX 75225                                      3401 N.W. 63RD STREET, SUITE 600
                                                      OKLAHOMA CITY, OK 73116




CIVIL DIVISION/LANDS & NATURAL RESOURCES              CLARK A. BEEBE
(COUNSEL FOR THE DEPARTMENT OF NATURAL RESOURCES,     2092 LAKESIDE DRIVE WEST
OFFICE OF MINERAL RESOURCES)                          PO BOX 194
ATTN RYAN M. SEIDEMANN                                HIGHLAND LAKES, NJ 07422
POST OFFICEBOX 94005
BATON ROUGE, LA 70804-9005




CLARK HILL STRASBURGER                                CLARK HILL STRASBURGER
(COUNSEL FOR WASTE MANAGEMENT)                        (COUNSEL FOR SEITEL DATA, LTD.)
ATTN ROBERT P. FRANKE, ANDREW G. EDSON, AUDREY L.     ATTN DUANE J. BRESCIA
HORNISHER                                             720 BRAZOS, SUITE 700
901 MAIN STREET, SUITE 6000                           AUSTIN, TX 78701
DALLAS, TX 75202-3794
                                            Master
                Case 20-33233 Document 1448-3  FiledService
                                                     in TXSBList  (as of 10/19/2020
                                                             on 10/19/20             06:00:31)
                                                                          Page 6 of 35

CLEARY GOTTLIEB STEEN & HAMILTON, LLP                COLE SCHOTZ, P.C.
(COUNSEL FOR TOTAL)                                  (COUNSEL FOR GLAS USA)
ATTN JANE VANLARE                                    ATTN: MICHAEL D. WARNER, ESQUIRE
ONE LIBERTY PLAZA                                    301 COMMERCE STREET, SUITE 1700
NEW YORK, NY 10006                                   FORT WORTH, TX 76102




COLORADO DEPARTMENT OF REVENUE                       COLORADO DEPT OF PUBLIC HEALTH AND
REGISTRATION CONTROL SECTION                         ENVIRONMENT
PO BOX 17087                                         4300 CHERRY CREEK DRIVE S
DENVER, CO 80217-0087                                DENVER, CO 80246-1530




COLORADO OIL AND GAS CONSERVATION COMMISSION         COLORADO STATE LAND BOARD
1120 LINCOLN STREET                                  1127 SHERMAN STREET
SUITE 801                                            SUITE 300
DENVER, CO 80203                                     DENVER, CO 80203




COLORADO STATE LAND BOARD                            COMMONWEALTH OF PENNSLVANIA
1127 SHERMAN STREET                                  OFFICE OF THE ATTORNEY GENERAL
SUITE 300                                            ATTN CAROL E. MOMJIAN
DENVER, CO 80203                                     THE PHOENIX BUILDING
                                                     1600 ARCH STREET, SUITE 300
                                                     PHILADELPHIA, PA 19103




COMPLETE ENERGY SERVICES                             CONNER & WINTERS, LLP
JAMES SPEXARTH                                       (COUNSEL FOR BIG STAR TRANSPORTATION LLC D/B/A
1001 LOUISIANA STREET                                BIG STAR CRUDE CO., LLC & PLAINS MARKETING, L.P.)
SUITE 2900                                           ATTN KIRAN A. PHANSALKAR
HOUSTON, TX 77002                                    1700 ONE LEADERSHIP SQUARE
                                                     211 N. ROBINSON AVE
                                                     OKLAHOMA CITY, OK 73102
                                             Master
                 Case 20-33233 Document 1448-3  FiledService
                                                      in TXSBList  (as of 10/19/2020
                                                              on 10/19/20             06:00:31)
                                                                           Page 7 of 35

CONTROL TECH USA LTD                                  CRADY JEWETT MCCULLEY & HOUREN LLP
BLAIR ALFRED                                          (COUNSEL FOR WELEY WEST MINTERALS, LTD., FAITH
22025 ROUTE 14                                        OPERATING COMAPANY, LP, FAITH RANCH LP, AND JAMES
TROY, PA 16947-8790                                   WENDELL WEST)
                                                      ATTN SHELLEY BUSH MARMON
                                                      2727 ALLEN PARKWAY, SUITE 1700
                                                      HOUSTON, TX 77019




CROWE & DUNLEVY, P.C.                                 CROWE & DUNLEVY, P.C.
(COUNSEL TO PELICAN ENERGY, LLC, ET AL.)              (COUNSEL FOR JAMESTOWN RESOURCES, LLC, LARCHMONT
ATTN CHRISTOPHER M. STAINE                            RESOURCES, LLC, AND PELLICAN ENERGY, LLC)
2525 MCKINNON STREET, SUITE 425                       ATTN WILLIAM H. HOCH III, TIM J. GALLEGLY,
DALLAS, TX 75201                                      MARGARET M. SINE
                                                      BRANIFF BUILDING
                                                      324 NORTH ROBINSON AVENUE, SUITE 100
                                                      OKLAHOMA CITY, OK 73102




CROWE & DUNLEVY, P.C.                                 CTF, LTD.
(COUNSEL FOR JAMESTOWN RESOURCES LLC, LARCHMONT       ATTN RON CARLTON
RESOURCES, LLC, AND PELICAN ENERGY, LLC)              100 CINDER ROAD NE
ATTN VICKIE L. DRIVER                                 CARROLLTON, OH 44615-9637
2525 MCKINNON ST., SUITE 425
DALLAS, TX 75201




DALLAS/FORT WORTH INTN'L AIRPORT BRD                  DAVIDSON SUMMERS, APLC
JIM JACKSON                                           (COUNSEL FOR BRP, LLC AND COVAL LEASING COMPANY
PO BOX 619428                                         L.L.C.)
DFW AIRPORT, TX 75261-9428                            ATTN WM LAKE HEARNE JR., GRANT E SUMMERS
                                                      330 MARSHALL STREET, SUITE 1114
                                                      SHREVEPORT, LA 71101




DAVIDSON SUMMERS, APLC                                DAVIDSON SUMMERS, APLC
(COUNSEL FOR SAUNDRA NELSON, ET AL)                   (COUNSEL FOR MOSS AND MAGNOLIA, L.L.C., ET AL)
ATTN WILLIAM LAKE HEARNE JR., ANDREW D. MARTIN        ATTN GRANT E. SUMMERS, WM LAKE HEARNE JR., ANDREW
330 MARSHALL STREET, SUITE 1114                       D. MARTIN
SHREVEPORT, LA 71101                                  330 MARSHALL STREET, SUITE 1114
                                                      SHREVEPORT, LA 71101
                                             Master
                 Case 20-33233 Document 1448-3  FiledService
                                                      in TXSBList  (as of 10/19/2020
                                                              on 10/19/20             06:00:31)
                                                                           Page 8 of 35

DAVIS POLK & WARDWELL LLP                             DAVIS POLK & WARDWELL LLP
ATTN: DAMIAN S. SCHAIBLE                              (COUNSEL FOR AD HOC GROUP OF FLLO TERM LOAN
450 LEXINGTON AVENUE                                  LENDERS)
NEW YORK, NY 10017                                    ATTN: DAMIAN S. SCHAIBLE, BENJAMIN S. KAMINETSKY,
                                                      DARREN S. KLEIN, ARYEH ETHAN FALK, DANIEL RUDEWICZ
                                                      450 LEXINGTON AVENUE
                                                      NEW YORK, NY 10017




DAVIS POLK & WARDWELL LLP                             DEIRDRE CAREY BROWN, PLLC
(COUNSEL FOR THE WILLIAMS COMPANIES, INC., ET AL)     FORSHEY & PROSTOK, LLP
ATTN: BRIAN M. RESNICK, LARA SAMET BUCHWALD,          (COUNSEL FOR OFFICIAL COMMITTEE OF ROYALTY OWNERS)
ANGELA M. LIBBY                                       1990 POST OAK, SUITE 2400
450 LEXINGTON AVENUE                                  HOUSTON, TX 77056
NEW YORK, NY 10017




DEUTSCHE BANK TRUST COMPANY AMERICAS                  DEUTSCHE BANK TRUST COMPANY AMERICAS
ATTN: CORP TEAM, C ENERGY CORP. SF0873                ATTN: CORPORATES DEAL TEAM MANAGE
TRUST & AGENCY SRV MAIL STOP: NYC60-2407              CHESAPEAKE ENERGY CORPORATION TRUST & AG
60 WALL STREET, 24 FL                                 M STOP: NYC60-1630 60 WALL STREET, 16 FL
NEW YORK, NY 10005                                    NEW YORK, NY 10005




DEUTSCHE BANK TRUST COMPANY AMERICAS                  DEUTSCHE BANK TRUST COMPANY AMERICAS
C/O DEUTSCHE BANK NATIONAL TRUST COMPANY              C/O THOMPSON HINE
MAIL STOP: JCY03-0699                                 ATTN: ELIZABETH FRAYER
100 PLAZA ONE, 6TH FLOOR                              335 MADISON AVE, 12TH FL
JERSEY CITY, NJ 07311-3901                            NEW YORK, NY 10017-4611




DEUTSCHE BANK TRUST COMPANY AMERICAS                  DEUTSCHE BANK TRUST COMPANY AMERICAS
JAMES VON MOLTKE, CORP DEAL MANAGER-CHK               JAMES VON MOLTKE, CORP DEAL MANAGER-CHK
TRUST & AGENCY SERVICES                               TRUST & AGENCY SERVICES
60 WALL ST, 16TH FLOOR MS: NYC60-1630                 60 WALL ST, 16TH FLOOR MS: NYC60-1630
NEW YORK, NY 10005                                    NEW YORK, NY 10005
                                            Master
                Case 20-33233 Document 1448-3  FiledService
                                                     in TXSBList  (as of 10/19/2020
                                                             on 10/19/20             06:00:31)
                                                                          Page 9 of 35

DEUTSCHE BANK TRUST COMPANY AMERICAS                 DEUTSCHE BANK TRUST COMPANY AMERICAS
JAMES VON MOLTKE, CORP DEAL MANAGER-CHK              JAMES VON MOLTKE, CORP DEAL MANAGER-CHK
TRUST & AGENCY SERVICES                              TRUST & AGENCY SERVICES
60 WALL ST, 16TH FLOOR MS: NYC60-1630                60 WALL ST, 16TH FLOOR MS: NYC60-1630
NEW YORK, NY 10005                                   NEW YORK, NY 10005




DEUTSCHE BANK TRUST COMPANY AMERICAS                 DEUTSCHE BANK TRUST COMPANY AMERICAS
JAMES VON MOLTKE, CORP DEAL MANAGER-CHK              JAMES VON MOLTKE, CORP DEAL MANAGER-CHK
TRUST & AGENCY SERVICES                              TRUST & AGENCY SERVICES
60 WALL ST, 16TH FLOOR MS: NYC60-1630                60 WALL ST, 16TH FLOOR MS: NYC60-1630
NEW YORK, NY 10005                                   NEW YORK, NY 10005




DEUTSCHE BANK TRUST COMPANY AMERICAS                 DEUTSCHE BANK TRUST COMPANY AMERICAS
JAMES VON MOLTKE, CORP DEAL MANAGER-CHK              JAMES VON MOLTKE, CORP DEAL MANAGER-CHK
TRUST & AGENCY SERVICES                              TRUST & AGENCY SERVICES
60 WALL ST, 16TH FLOOR MS: NYC60-1630                60 WALL ST, 16TH FLOOR MS: NYC60-1630
NEW YORK, NY 10005                                   NEW YORK, NY 10005




DEUTSCHE BANK TRUST COMPANY AMERICAS                 DIVERSIFIED GAS & OIL, PLC
JAMES VON MOLTKE, CORP DEAL MANAGER-CHK              ATTN: ASHLEY BATTEN
TRUST & AGENCY SERVICES                              414 SUMMERS STREET
60 WALL ST, 16TH FLOOR MS: NYC60-1630                CHARLESTON, WV 25301
NEW YORK, NY 10005




DNOW LP                                              DORE ROTHBERG MCKAY, PC
RICHARD ALARIO                                       (COUNSEL FOR HALLIBURTON ENERGY SERVICES, INC.)
7402 N. ELDRIDGE PARKWAY                             ATTN ZACHARY MCKAY, ESQ.
HOUSTON, TX 77041                                    17171 PARK ROW, SUITE 160
                                                     HOUSTON, TX 77084
                Case 20-33233 Document 1448-3Master
                                               Filed Service List
                                                     in TXSB on   (as of 10/19/2020
                                                                10/19/20             06:00:31)
                                                                         Page 10 of 35

DUANE MORRIS LLP                                     DUANE MORRIS LLP
(COUNSEL FOR KINETIC)                                (COUNSEL FOR KINETIC)
ATTN COREY M. WEIDEMAN                               ATTN JARRET P HITCHINGS
1330 POST OAK BOULEVARD, SUITE 800                   222 DELAWARE AVENUE, SUITE 1600
HOUSTON, TX 77056                                    WILMINGTON, DE 19801




EAGLE FORD GATHERING LLC                             EMMET, MARVIN & MARTIN, LLP
BRUCE DARTER                                         (COUNSEL FOR "BNYM")
1999 BRYAN ST.                                       ATTN: EDWARD P. ZUJKOWSKI, ESQ., THOMAS A. PITTA,
STE. 900                                             ELIZABETH TARAILA, ESQ.
DALLAS, TX 75201                                     120 BROADWAY, 32ND FLOOR
                                                     NEW YORK, NY 10271




ENERGY TRANSFER                                      ENERSTAR RENTALS AND SERVICES LTD
ATTN JIM WRIGHT                                      BILL BLAIR
1300 MAIN STREET, 20TH FLOOR                         3377 SOUTH MAIN STREET
HOUSTON, TX 77002                                    MONAHANS, TX 79756




ENTERPRISE CRUDE OIL LLC                             ENVIROMENTAL FEDERATION OF OKLAHOMA INC
BRENT SECREST                                        4 NE 10TH ST # 443
1100 LOUISIANA ST                                    OKLAHOMA CITY, OK 73104-1402
HOUSTON, TX 77002




FLORIDA DEPT OF ENVIRONMENTAL                        FLORIDA DEPT OF HEALTH
PROTECTION                                           4052 BALD CYPRESS WAY
3900 COMMONWEALTH BLVD MS 49                         BIN #A00
TALLAHASSEE, FL 32399                                TALLAHASSEE, FL 32399-1701
                Case 20-33233 Document 1448-3Master
                                               Filed Service List
                                                     in TXSB on   (as of 10/19/2020
                                                                10/19/20             06:00:31)
                                                                         Page 11 of 35

FLYNN ENERGY TRANSPORT INC                           FOLEY & LARDNER LLP
BRYON MUSICK                                         (COUNSEL FOR WILMINGTON SAVINGS)
342 EAST MACEDONIA RD                                ATTN HAROLD KAPLAN, MARK HEBBELN
TOWANDA, PA 18848                                    321 NORTH CLARK STREET, SUITE 3000
                                                     CHICAGO, IL 60654-4762




FOLEY & LARDNER LLP                                  FOLEY & LARDNER LLP
(COUNSEL FOR WILMINGTON SAVINGS)                     (COUNSEL TO GULF SOUTH PIPELINE COMPANY, LLC)
ATTN JENNIFER HUCKLEBERRY                            ATTN JOHN MELCO, ESQ.
1000 LOUISIANA, SUITE 2000                           1000 LOUISIANA STREET, SUITE 2000
HOUSTON, TX 77002                                    HOUSTON, TX 77002




FORSHEY & PROSTOK, LLP                               FRANKLIN ADVISERS, INC. ET AL
(COUNSEL FOR OFFICIAL COMMITTEE OF ROYALTY OWNERS)   C/O AKIN GUMP STRAUSS HAUER & FELD
ATTN J. ROBERT FORSHEY, JEFF P. PROSTOK              ATTN: MICHAEL S. STAMER
777 MAIN ST., SUITE 1550                             ONE BRYANT PARK
FORT WORTH, TX 76102                                 BANK OF AMERICA TOWER
                                                     NEW YORK, NY 10036-6745




GIEGER, LABORDE & LAPEROUSE, L.L.C.                  GLAS USA LLC
(COUNSEL FOR WESTERNGECO LLC)                        3 SECOND STREET, SUITE 206
ATTN ANDREW A BRAUN                                  JERSEY CITY, NJ 07311
SUITE 4800
701 POYDRAS STREET
NEW ORLEANS, LA 70139-0400




GLAS USA LLC                                         GLASS MOUNTAIN PIPELINE LLC
C/O PAUL HASTINGS LLP                                MATT VINING
ATTN: JUSTIN RAWLINS                                 2626 COLE AVE
515 SOUTH FLOWER ST. 25TH FL                         SUITE 900
LOS ANGELES, CA 90071                                DALLAS, TX 75204
                Case 20-33233 Document 1448-3Master
                                               Filed Service List
                                                     in TXSB on   (as of 10/19/2020
                                                                10/19/20             06:00:31)
                                                                         Page 12 of 35

GLASS MOUNTAIN PIPELINE, LLC                         GOWAN ELIZONDO LLP
ATTN MINDY SHAVER                                    (COUNSEL FOR JUAN CARLOS ALANIZ)
2626 COLE AVENUE, SUITE 900                          ATTN LUIS A. ELIZONDO, CHRISTOPHER A. GARZA
DALLAS, TX 75204                                     555 N. CARANCAHUA, SUITE 1400
                                                     CORPUS CHRISTI, TX 78401




GRAY REED & MCGRAW LLP                               GULF SOUTH PIPELINE COMPANY, LLC
(COUNSEL FOR JACKALOPE GAS GATHERING SERVICES LLL    ATTN ADINA OWEN
AND STAGECOACH PIPELINE & STORAGE COMPANY LLC)       9 GREENWAY PLAZA, SUITE 2800
ATTN: JASON S. BROOKNER, JONATHAN M. HYMAN, LYDIA    HOUSTON, TX 77046
R. WEBB, AMBER M. CARSON
1300 POST OAK BLVD, UITE 2000
HOUSTON, TX 77056




HALL, ESTILL, HARDWICK, GABLE, GOLDEN & NELSON, PC   HALLIBURTON ENERGY SERVICES INC
(COUNSEL FOR TARGA PIPELINE MID-CONTINENT WESTOK     JEFF MILLER
LLC)                                                 3000 N. SAM HOUSTON PKWY E.
ATTN STEVEN W. SOULE                                 HOUSTON, TX 77032
320 SOUTH BOSTON AVENUE, SUITE 200
TULSA, OK 74103-3706




HALLIBURTON ENERGY SERVICES, INC.                    HAMMER DOWN OILFIELD SERVICES LLC
C/O ROB CLOUD                                        TIMOTHY JIMENEZ
3000 N. SAM HOUSTON PKWY. EAST                       16731 HUEBNER RD.
HOUSTON, TX 77032                                    SAN ANTONIO, TX 78248




HARRIS, FINLEY & BOGLE, P.C.                         HARRISON & DUNCAN PLLC
(COUNSEL FOR COB, MISD, GARANAK, AND UPR)            (COUNSEL FOR GMC, THE KINSEL TRUSTS)
ATTN MICHAEL V. FITZPATRICK, JAMES E. KEY            ATTN MARY ELIZABETH HEARD
777 MAIN STREET, SUITE 1800                          8700 CROWNHILL, SUTIE 505
FORT WORTH, TX 76102                                 SAN ANTONIO, TX 78209
                Case 20-33233 Document 1448-3Master
                                               Filed Service List
                                                     in TXSB on   (as of 10/19/2020
                                                                10/19/20             06:00:31)
                                                                         Page 13 of 35

HAYNES AND BOONE, LLP                                HAYNES AND BOONE, LLP
(COUNSEL FOR THE WILLIAMS COMPANIES, INC. ET AL)     (COUNSEL FOR TOTAL)
ATTN: CHARLES A. BECKHAM, JR., KELLI S. NORFLEET,    ATTN DAVID H. AMMONS
DAVID TRAUSCH                                        1221 MCKINNEY STREET, SUITE 4000
1221 MCKINNEY STREET, SUITE 2100                     HOUSTON, TX 77010
HOUSTON, TX 77010




HAYNES AND BOONE, LLP                                HEARD DUNCAN & REYES
(COUNSEL FOR ENABLE)                                 (COUNSEL FOR PBMG PARTIES)
ATTN J. FRASHER MURPHY                               ATTN MARY ELIZABETH HEARD
2323 VICTORY AVENUE, SUITE 700                       8700 CROWNHILL, SUITE 505
DALLAS, TX 75219                                     SAN ANTONIO, TX 78209




HENDERSHOT COWART, P.C.                              HI-CRUSH PARTNERS LP
(COUNSEL FOR JASON DEAN)                             PHIL MCCORMICK
ATTN SIMON W. HENDERSHOT,III, KATIE T. COWART        1330 POST OAK BLVD.
1800 BERING DRIVE, SUITE 600                         SUITE 600
HOUSTON, TX 77057                                    HOUSTON, TX 77056




HUSCH BLACKWELL LLP                                  IL. ENVIRONMENTAL PROTECTION AGENCY
(COUNSEL FORT THE COMMONWEALTH OF PENNSYVANIA)       1021 N GRAND AVE E
ATTN LYNN HAMILTON BUTLER                            PO BOX 19276
111 CONGRESS AVENUE, SUITE 1400                      SPRINGFIELD, IL 62794-9276
AUSTIN, TX 78701




ILLINOIS DEPT OF NATURAL RESOURCES                   INTERNAL REVENUE SERVICE
ONE NATURAL RESEOURCES WAY                           CENTRALIZED INSOLVENCY OPERATION
SPRINGFIELD, IL 62702-1271                           PO BOX 7346
                                                     PHILADELPHIA, PA 19101-7346
                Case 20-33233 Document 1448-3Master
                                               Filed Service List
                                                     in TXSB on   (as of 10/19/2020
                                                                10/19/20             06:00:31)
                                                                         Page 14 of 35

INTERNAL REVENUE SERVICE                             INTERNAL REVENUE SERVICE
CENTRALIZED INSOLVENCY OPERATION                     324 25TH ST
2970 MARKET ST                                       OGDEN, UT 84201-0059
MAIL STOP 5 Q30 133
PHILADELPHIA, PA 19104-5016




JACKSON WALKER L.L.P.                                JAMES PAUL BARNETT, JR. & ASSOCIATES PC
(PROPOSED CO-COUNSEL FOR THE DEBTORS)                (COUNSEL FOR GCCI AND GLOYNA)
ATTN: MATTHEW D. CAVENAUGH; JENNIFER F. WERTZ,       ATTN JAMES PAUL BARNETT, JR.
KRISTHY M. PEGUERO, VERONICA A. POLNICK              14825 ST. MARY'S LANE SUITE 101
1401 MCKINNEY STREET, SUITE 1900                     HOUSTON, TX 77079-2902
HOUSTON, TX 77010




JASON A. STARKS                                      JEAN PAUL P. OVERTON
ASSISTANT COUNTY ATTORNEY                            ASSISTANT GENERAL COUNSEL
(COUNSEL FOR TRAVIS COUNTY)                          SUPERIOR ENERGY SERVICES, INC.
P.O. BOX 1748                                        OBO WORKSTRINGS INTERNATIONAL, L.L.C.; COMPLETE
AUSTIN, TX 78767                                     ENERGY SERVICES, INC.; SPN WELL SERVICES, INC.;
                                                     H.B. RENTALS, LC, 1001 LOUISIANA STREET,SUITE 2900
                                                     HOUSTON, TX 77002




JENNINGS, HAUG & CUNNINGHAM, LLP                     KANE RUSSELL COLEMAN LOGAN PC
(COUNSEL FOR LIBERTY MUTUAL INSURANCE COMPANY AND    (COUNSEL FOR VFS LEASING CO.)
SAFECO INSURACE COMPANY OF AMERICA)                  ATTN MICHAEL P. RIDULFO
ATTN CHAD L. SCHEXNAYDER, ALANA L. PORRAZO           5051 WESTHEIMER ROAD, 10TH FLOOR
2800 N. CENTRAL AVENUE, SUITE 1800                   HOUSTON, TX 77056
PHOENIX, AZ 85004




KANSAS COROPORATION COMMISSION                       KANSAS DEPT OF HEALTH & ENVIRONMENT
CONSERVATION DIVISION                                CURTIS STATE OFFICE BLDG
266 N. MAIN ST                                       1000 SW JACKSON
SUITE 220                                            TOPEKA, KS 66612
WICHITA, KS 67202-1513
                 Case 20-33233 Document 1448-3Master
                                                Filed Service List
                                                      in TXSB on   (as of 10/19/2020
                                                                 10/19/20             06:00:31)
                                                                          Page 15 of 35

KATTEN MUCHIN ROSENMAN LLP                            KEESAL, YOUNG & LOGAN
(COUNSEL FOR ETC TEXAS PIPELINE LTD., ENERGY          (COUNSEL FOR SEABOARD INTERNATIONAL INC.)
TRANSFER FUEL, LP, ETC KATY PIPELINE, LTD.,           ATTN DAVID D. PIPER, STEFAN PEROVICH, BRYCE
HOUSTON PIPE LINE COMPANY LP, AND OASIS PIPELINE      CULLINAN
L.P.)                                                 400 OCEANGATE, SUITE 1400
ATTN JOHN E. MITCHELL                                 LONG BEACH, CA 90802
212 N. PEARSL ST. SUITE 1100
DALLAS, TX 75201




KENTUCKY DEPT OF                                      KENTUCKY ENERGY AND ENVIRONMENT CABINET
ENVIRONMENTAL PROTECTION                              300 SOWER BLVD
300 SOWER BLVD                                        FRANKFORT, KY 40601
FRANKFORT, KY 40601




KESSLER & COLLINS                                     KEY ENERGY SERVICES LLC
(COUNSEL FOR RANDY AND MELISSA WOOD)                  ROB SALTIEL
ATTN HOWARD C. RUBIN                                  1301 MCKINNEY
2100 ROSS AVENUE, SUITE 750                           STE 1800
DALLAS, TX 75201                                      HOUSTON, TX 77010




KIRKLAND & ELLIS INTERNATIONAL LLP                    KREBS FARLEY & DRY, PLLC
(PROPOSED CO-COUNSEL TO THE DEBTORS)                  (COUNSEL FOR RLI INSURANCE COMPANY)
300 NORTH LASALLE STREET                              ATTN RYAN D. DRY
ATTN: PATRICK J. NASH, JR., P.C., MARC KIESELSTEIN    909 18TH STREET
, P.C., ALEXANDRA SCHWARZMAN                          PLANO, TX 75074
CHICAGO, IL 60654




KREBS FARLEY & DRY, PLLC                              KUSTOM KONCEPTS INC
(COUNSEL FOR RLI INSURANCE COMPANY)                   CAMERON WAGNER
ATTN ELLIOT SCHARFENBERG, JON ORD                     1351 N. DERRICK DR.
400 POYDRAS STREER, SUITE 2500                        CASPER, WY 82604
NEW ORLEANS, LA 70130
                Case 20-33233 Document 1448-3Master
                                               Filed Service List
                                                     in TXSB on   (as of 10/19/2020
                                                                10/19/20             06:00:31)
                                                                         Page 16 of 35

LAW OFFICE OF PATRICIA WILLIAMS PREWITT              LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
(COUNSEL FOR PLAINS MARKETING, L.P.)                 (COUNSEL FOR HOOD CAD, GREGG COUNTY, GRAYSON
ATTN: PATRICIA WILLIAMS PREWITT                      COUNTY, PARKER CAD)
10953 VISTA LAKE COURT                               ATTN: LISA LARGE COCKRELL
NAVASOTA, TX 77868                                   2777 N. STEMMONS FREEWAY
                                                     SUITE 1000
                                                     DALLAS, TX 75207




LINEBARGER GOGGAN BLAIR & SAMPSON, LLP               LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
(COUNSEL FOR MATAGORDA COUNTY, LIBERTY COUNTY,       (COUNSEL FOR JIM WELLS CAD, GOLIAD COUNTY, ZAPATA
MADISON COUNTY, SABINE COUNTY, SAN AUGUSTINE         COUNTY, NUECES COUNTY, DEWITT COUNTY, LEE COUNTY,
COUNTY, JASPER COUNTY, ANGELINA COUNTY, TYLER        ROBERTSON COUNTY, WEBB CISD)
COUNTY, HOUSTON CAD, SHELBY COUNTY, HARRIS COUNTY,   ATTN DIANE W. SANDERS
WASHINGTON COUNTY, FORT BEND COUNTY, MONTGOMERY      PO BOX 17428
COUNTY, GALVESTON COUNTY, POLK COUNTY, CYPRESS-      AUSTIN, TX 78760-7428
FAIRBANKS ISD, ORANGE COUNTY)
ATTN TARA L. GRUNDMEIER
PO BOX 3064
HOUSTON, TX 77253-3064



LINEBARGER GOGGAN BLARI & SAMPSON, LLP               LISKOW & LEWIS
(COUNSEL FOR BEXAR COUNTY)                           (COUNSEL FOR BP AMERICA PRODUCTION COMPANY)
ATTN DON STECKER                                     ATTN: MICHAEL D. RUBENSTEIN
112 E. PECAN STREET, SUITE 2200                      1001 FANNIN STREET, SUITE 1800
SAN ANTONIO, TX 78205                                HOUSTON, TX 77002




LOCKE LORD LLP                                       LOCKE LORD LLP
(COUNSEL FOR ALLEN JOHNSON, ET AL., AND RODNEY       (COUNSEL FOR ALLEN JOHNSON, ET AL. AND RODNEY
HUDSON, ET AL.)                                      HUDSON, ET AL)
ATTN BRADLEY C. KNAPP                                ATTN PHILIP G. EISENBERG
601 POYDRAS ST., SUITE 2660                          600 TRAVIS STREET, SUITE 2800
NEW ORLEANS, LA 70130                                HOUSTON, TX 77002




LOEB & LOEB LLP                                      LOOPER GOODWINE, P.C.
(COUNSEL FOR U.S. BANK NATIONAL ASSOCIATION)         (COUNSEL FOR ARGONAUT INSURANCE COMPANY)
ATTN: WALTER H. CURCHACK, VADIM J. RUBINSTEIN        ATN PAUL J. GOODWINE, LINDSEY M. JOHNSON
345 PARK AVE                                         650 POYDRAS STREET, SUITE 2400
NEW YORK, NY 10154                                   NEW ORLEANS, LA 70130
                Case 20-33233 Document 1448-3Master
                                               Filed Service List
                                                     in TXSB on   (as of 10/19/2020
                                                                10/19/20             06:00:31)
                                                                         Page 17 of 35

LOUISIANA DEPT OF                                    LOUISIANA DEPT OF ENVIRONMENTAL QUALITY
ENVIRONMENTAL QUALITY                                OFFICE OF ENVIRONMENTAL SERVICES
PO BOX 4302                                          PO BOX 4313
BATON ROUGE, LA 70821-4302                           BATON ROUGE, LA 70821-4313




MAHAFFEY & GORE, P.C.                                MANIER & HEROD, P.C.
(COUNSEL FOR STONE CREEK OPERATING, LLC)             (COUNSELL FOR PHILADELPHIA INDEMNITY INSURANCE
ATTN TRAVIS P. BROWN, CALEB A. HARTWELL              COMPANY)
300 NE 1ST STREET                                    ATTN MICHAEL E. COLLINS, ESQ.
OKLAHOMA CITY, OK 73104-4004                         1201 DEMONBREUN ST., SUITE 900
                                                     NASHVILLE, TN 37219




MARYLAND DEPT OF NATURAL RESOURCES                   MARYLAND DEPT OF THE ENVIRONMENT
580 TAYLOR AVE                                       1800 WASHINGTON BLVD
ANNAPOLIS, MD 21401                                  BALTIMORE, MD 21230




MATTHEWS, SHIELS, KNOTT, EDEN, DAVIS & BEANLAND,     MCCREARY, VESELKA, BRAGG & ALLEN, P.C.
L.L.P.                                               (COUNSEL FOR THE "TEXAS TAXING AUTHORITIES"
(COUNSEL FOR ELLIOTT ELECTRIC SUPPLY, INC.)          ATTN: TARA LEDAY
ATTN: MISTI L. BEANLAND                              P.O. BOX 1269
8131 LBJ FREEWAY, SUITE 700                          ROUND ROCK, TX 78680
DALLAS, TX 75251




MCGINNIS LOCHRIDGE LLP                               MCGINNIS LOCHRIDGE LLP
(COUNSEL FOR KARNES ELECTRIC COOPERATIVE)            (COUNSEL FOR KARNES ELECTRIC COOPERATIVE)
ATTN WILLIAM H. DANIEL                               ATTN CHRISTOPHER L. HALGREN
600 CONGTRESS AVENUE, SUITE 2100                     609 MAIN STREET, SUITE 2800
AUSTIN, TX 78701                                     HOUSTON, TX 77002
               Case 20-33233 Document 1448-3Master
                                              Filed Service List
                                                    in TXSB on   (as of 10/19/2020
                                                               10/19/20             06:00:31)
                                                                        Page 18 of 35

MCGLINCHEY STAFFORD, PLLC                            MCGLINCHEY STAFFORD, PLLC
(COUNSEL FOR AUTOMOTIVERENTALS, INC. AND ARI FLEET   (COUNSEL AUTOMOTIVE RENTALS, INC. & ARI FLEET LT)
LT)                                                  ATTN RUDY J. CERONE, ESQ.
ATTN MARK J. CHANEY, ESQ.                            601 POYDRAS STREET, 12TH FLOOR
601 POYDRAS STREET, 12TH FLOOR                       NEW ORLEANS, LA 70130
NEW ORLEANS, LA 70130




MCGLINCHEY STAFFORD, PLLC                            MICHIGAN DEPARTMENT OF ENERGY GREAT LAKES
(COUNSELF FOR ARI)                                   AND ENVIRONMENT, OIL, GAS, AND MINERALS DIVISION
ATTN RICHARD A. AGUILAR                              CONSTITUTION HALL, 2ND FL
601 POYDRAS STREET, 12TH FLOOR                       525 WEST ALLEGAN STREET
NEW ORLEANS, LA 70130                                LANSING, MI 48933




MICHIGAN DEPT OF                                     MILLER MENTZER WALKER, P.C.
ENVIRONMENTAL QUALITY                                (COUNSEL FOR J-W POWER COMPANY)
525 W ALLEGAN ST                                     ATTN: JULIA A. WALKER
PO BOX 30473                                         P.O. BOX 130
LANSING, MI 48909-7973                               100 N. MAIN ST.
                                                     PALMER, TX 75152




MISSISSIPPI DEPT OF                                  MISSISSIPPI STATE OIL AND GAS BOARD
ENVIRONMENTAL QUALITY                                500 GREYMONT AVE
LEGAL DIVISION                                       SUITE E
PO BOX 2261                                          JACKSON, MS 39202-3446
JACKSON, MS 39225




MOMENTUM PRESSURE CONTROL LLC                        MONTANA DEPT OF ENVIRONMENTAL QUALITY
JODY KINDRED                                         1520 E 6TH AVE
199 CORPORATE RD                                     HELENA, MT 59620-0901
LONGVIEW, TX 75603
                 Case 20-33233 Document 1448-3Master
                                                Filed Service List
                                                      in TXSB on   (as of 10/19/2020
                                                                 10/19/20             06:00:31)
                                                                          Page 19 of 35

MONTANA DEPT OF ENVIRONMENTAL QUALITY                 MORGAN LEWIS & BOCKIUS LLP
PO BOX 200901                                         (COUNSEL FOR DEUTSCHE BANK TRUST COMPANY AMERICAS)
HELENA, MT 59620-0901                                 ATTN WINN CARTER
                                                      1000 LOUISIANA STREET, SUITE 4000
                                                      HOUSTON, TX 77002




MORGAN LEWIS & BOCKIUS LLP                            MORGAN, LEWIS & BOCKIUS LLP
(COUNSEL FOR DEUTSCHE BANK TRUST COMPANY AMERICAS)    (COUNSEL FOR DEUTSCHE BANK TRUST COMPANY AMERICAS)
ATTN GLENN E. SIEGEL                                  ATTN RACHEL JAFFE MAUCERI
101 PARK AVENUE                                       1701 MARKET STREET
NEW YORK, NY 10178-0060                               PHILADELPHIA, PA 19103-2921




MORGAN, LEWIS & BOCKIUS LLP                           MUFG UNION BANK NA
(COUNSEL FOR DEUTSCHE BANK TRUST COMPANY AMERICAS)    C/O SIDLEY AUSTIN LLP
ATTN DAVID M. RILEY                                   ATTN: JENNIFER C HAGLE
2049 CENTURY PARK, SUITE 700                          555 WEST FIFTH STREET
LOS ANGELES, CA 90067                                 LOS ANGELES, CA 90013




MUFG UNION BANK, N.A.                                 MUNSCH HARDT KOPF & HARR, P.C.
ATTN: STEPHEN WARFEL                                  (COUNSEL FOR JUSTIN COBB, KRISTIN COBB, AND LINDA
1100 LOUISIANA STREET, SUITE 4850                     MILANOVICH)
HOUSTON, TX 77002-5216                                ATTN DAVOR RUKAVINA
                                                      500 N. AKARD STREET, SUITE 3800
                                                      DALLAS, TX 75201




NAMAN, HOWELL, SMITH & LEE, PLLC                      NEBRASKA DEPT OF ENVIRONMENTAL QUALITY
(COUNSEL FOR SARA HARRISON)                           1200 N ST, STE 400
ATTN KERRY L. HALIBURTON                              PO BOX 98922
P.O. BOX 1470                                         LINCOLN, NE 68509
WACO, TX 76703-1470
               Case 20-33233 Document 1448-3Master
                                              Filed Service List
                                                    in TXSB on   (as of 10/19/2020
                                                               10/19/20             06:00:31)
                                                                        Page 20 of 35

NEBRASKA OIL AND GAS CONSERVATION DIVISION          NELIGAN LLP
922 ILLINOIS                                        (COUNSEL FOR STONE CREEK OPERATING, LLC)
PO BOX 399                                          ATTN JOHN D. GAITHER
SIDNEY, NE 69162                                    325 N. ST. PAUL, SUITE 3600
                                                    DALLAS, TX 75201




NEW JERSEY DEPT OF ENVIRON. PROTECTION              NEW MEXICO ENVIRONMENT DEPT
MAIL CODE 401-04L                                   HAROLD RUNNELS BLDG
401 E STATE ST                                      1190 ST FRANCIS DRIVE
PO BOX 402                                          STE N4050
TRENTON, NJ 08625                                   SANTA FE, NM 87505




NEW MEXICO ENVIRONMENT DEPT                         NEW MEXICO OIL CONSERVATION DIVISION
PO BOX 5469                                         1220 SOUTH ST. FRANCIS DR.
SANTA FE, NM 87502-5469                             SANTE FE, NM 87505




NEW YORK STATE DEPT OF                              NEWPARK FLUIDS SYSTEMS
ENVIRONMENTAL CONSERVATION                          GREGG PIONTEK
625 BRAODWAY                                        21920 MERCHANTS WAY
ALBANY, NY 12233-1011                               KATY, TX 77449




NORTH DAKOTA DEPT OF HEALTH                         NORTH DAKOTA INDUSTRIAL COMMISSION OIL
ENVIRONMENTAL HEALTH SECTION                        AND GAS DIVISION
918 E DIVIDE AVE                                    600 EAST BOULEVARD AVE
BISMARCK, ND 58501-1947                             DEPT 405
                                                    BISMARK, ND 58505-0840
                Case 20-33233 Document 1448-3Master
                                               Filed Service List
                                                     in TXSB on   (as of 10/19/2020
                                                                10/19/20             06:00:31)
                                                                         Page 21 of 35

NORTON ROSE FULBRIGHT US LLP                         NORTON ROSE FULBRIGHT US LLP
(COUNSEL FOR THE UCC)                                (COUNSEL FOR THE UCC)
ATTN JASON L. BOLAND, WILLIAM R. GREENDYKE           ATTN LOUIS. R. STRUBECK, JR., KRISTIAN W. GLUCK
1301 MCKINNEY, SUITE 5100                            2200 ROSS AVENUE, SUITE 3600
HOUSTON, TX 77010                                    DALLAS, TX 75201-7932




NYS DEPT OF ENVIRONMENTAL CONSERVATION               OCCUPATIONAL SAFETY AND HEALTH ADMINISTRATION
CHURCH ST STA                                        200 CONSTITUTION AVE NW
PO BOX 3782                                          WASHINGTON, DC 20210
NEW YORK, NY 10008-3782




OFFICE OF THE ATTORNEY GENERAL                       OFFICE OF THE ATTORNEY GENERAL
PO BOX 110300                                        ALABAMA STATE HOUSE
DIAMOND COURTHOUSE                                   11 SOUTH UNION STREET, THIRD FLOOR
JUNEAU, AK 99811-0300                                MONTGOMERY, AL 36130




OFFICE OF THE ATTORNEY GENERAL                       OFFICE OF THE ATTORNEY GENERAL
200 TOWER BUILDING                                   1525 SHERMAN ST 5TH FL
323 CENTER STREET, SUITE 200                         DENVER, CO 80203
LITTLE ROCK, AR 72201




OFFICE OF THE ATTORNEY GENERAL                       OFFICE OF THE ATTORNEY GENERAL
STATE OF FLORIDA                                     100 WEST RANDOLPH ST
THE CAPITOL PL-01                                    CHICAGO, IL 60601
TALLAHASSEE, FL 32399-1050
               Case 20-33233 Document 1448-3Master
                                              Filed Service List
                                                    in TXSB on   (as of 10/19/2020
                                                               10/19/20             06:00:31)
                                                                        Page 22 of 35

OFFICE OF THE ATTORNEY GENERAL                      OFFICE OF THE ATTORNEY GENERAL
120 SW 10TH AVE 2ND FL                              THE CAPITOL, ROOM 116
TOPEKA, KS 66612-1597                               700 CAPITOL AVENUE
                                                    FRANKFORT, KY 40601-3449




OFFICE OF THE ATTORNEY GENERAL                      OFFICE OF THE ATTORNEY GENERAL
STATE CAPITOL, 24TH FLOOR                           PO BOX 94095
300 CAPITOL DRIVE                                   BATON ROUGE, LA 70804
BATON ROUGE, LA 70802




OFFICE OF THE ATTORNEY GENERAL                      OFFICE OF THE ATTORNEY GENERAL
200 ST. PAUL PLACE                                  G. MENNEN WILLIAMS BUILDING, 7TH FLOOR
BALTIMORE, MD 21202                                 525 W. OTTAWA ST.
                                                    PO BOX 30212
                                                    LANSING, MI 48909




OFFICE OF THE ATTORNEY GENERAL                      OFFICE OF THE ATTORNEY GENERAL
CARROLL GARTIN JUSTICE BUILDING                     PO BOX 220
450 HIGH STREET                                     JACKSON, MS 39205
JACKSON, MS 39201




OFFICE OF THE ATTORNEY GENERAL                      OFFICE OF THE ATTORNEY GENERAL
JUSTICE BUILDING                                    DEPARTMENT OF JUSTICE
215 N. SANDERS                                      PO BOX 201401
HELENA, MT 59620                                    HELENA, MT 59620-1401
                Case 20-33233 Document 1448-3Master
                                               Filed Service List
                                                     in TXSB on   (as of 10/19/2020
                                                                10/19/20             06:00:31)
                                                                         Page 23 of 35

OFFICE OF THE ATTORNEY GENERAL                       OFFICE OF THE ATTORNEY GENERAL
STATE CAPITOL                                        STATE CAPITOL
600 E. BOULEVARD AVE., DEPT. 125                     PO BOX 98920
BISMARCK, ND 58505                                   LINCOLN, NE 68509




OFFICE OF THE ATTORNEY GENERAL                       OFFICE OF THE ATTORNEY GENERAL
DEPUTY AG JEFF KOZIAR                                DEPUTY AG JEFF KOZIAR
PO BOX 080                                           25 MARKET ST
TRENTON, NJ 08625-0080                               CN 080
                                                     TRENTON, NJ 08625




OFFICE OF THE ATTORNEY GENERAL                       OFFICE OF THE ATTORNEY GENERAL
P.O. DRAWER 1508                                     THE CAPITOL - 2ND FLOOR
SANTA FE, NM 87504-1508                              ALBANY, NY 12224-0341




OFFICE OF THE ATTORNEY GENERAL                       OFFICE OF THE ATTORNEY GENERAL
STATE OFFICE TOWER                                   313 NE 21ST STREET
30 E BROAD ST 17TH FL                                OKLAHOMA CITY, OK 73105
COLUMBUS, OH 43215-3428




OFFICE OF THE ATTORNEY GENERAL                       OFFICE OF THE ATTORNEY GENERAL
STRAWBERRY SQUARE                                    500 CHARLOTTE AVENUE
HARRISBURG, PA 17120                                 NASHVILLE, TN 37243
               Case 20-33233 Document 1448-3Master
                                              Filed Service List
                                                    in TXSB on   (as of 10/19/2020
                                                               10/19/20             06:00:31)
                                                                        Page 24 of 35

OFFICE OF THE ATTORNEY GENERAL                      OFFICE OF THE ATTORNEY GENERAL
1412 MAIN STREET                                    BANKRUPTCY & COLLECTIONS DIVISION
SUITE 810                                           PO BOX 12548- MC 008
DALLAS, TX 75202                                    AUSTIN, TX 78711-2548




OFFICE OF THE ATTORNEY GENERAL                      OFFICE OF THE ATTORNEY GENERAL
STATE CAPITOL, ROOM 236                             UTAH STATE CAPITOL COMPLEX
SALT LAKE CITY, UT 84114                            EAST OFFICE BLDG, SUITE 320
                                                    SALT LAKE CITY, UT 84114-2320




OFFICE OF THE ATTORNEY GENERAL                      OFFICE OF THE ATTORNEY GENERAL
900 EAST MAIN STREET                                1900 KANAWHA BLVD. EAST, ROOM 26E
RICHMOND, VA 23219                                  CHARLESTON, WV 25305-9924




OFFICE OF THE ATTORNEY GENERAL                      OFFICE OF THE ATTORNEY GENERAL OF TEXAS
123 CAPITOL                                         BANKRUPTCY DIVISION
200 W. 24TH STREET                                  (COUNSEL FOR UNCLAIMED PROPERTY DIVISION OF THE
CHEYENNE, WY 82002                                  TEXAS COMPTROLLER OF PUBLIC ACCOUNTS)
                                                    ATTN: JASON B. BINFORD, LAYLA D. MILLIGAN
                                                    ASSISTANT ATTORNEYS GENERAL,PO BOX 12548-MC 008
                                                    AUSTIN, TX 78711-2548




OFFICE OF UNITED STATES TRUSTEE                     OHIO ATTORNEY GENERAL
515 RUSK STREET, SUITE 3516                         (COUNSEL FOR OHIO DNR AND OHIO EPA)
ATTN: HECTOR DURAN, JR                              ATTN MICHAEL E. IDZKOWSKI, TIMOTHY J. KERN
HOUSTON, TX 77002                                   30 E. BROAD STREET, 25TH FLOOR
                                                    COLUMBUS, OH 43215
               Case 20-33233 Document 1448-3Master
                                              Filed Service List
                                                    in TXSB on   (as of 10/19/2020
                                                               10/19/20             06:00:31)
                                                                        Page 25 of 35

OHIO DEPT OF NATURAL RESOURCES                      OHIO ENVIRONMENTAL PROTECTION AGENCY
2045 MORSE ROAD                                     LAZARUS GOV'T CTR
COLUMBUS, OH 43229-6693                             50 W TOWN ST, STE 700
                                                    PO BOX 1049
                                                    COLUMBUS, OH 43216-1049




OK DEPARTMENT OF ENVIRONMENTAL QUALITY              OKIN ADAMS LLP
PO BOX 2036                                         (COUNSEL FOR WELL WATER SOLUTIONS AND RENTALS INC)
OKLAHOMA CITY, OK 73101-2036                        ATTN MATTHEW S. OKIN, JOHN THOMAS OLDHAM
                                                    1113 VINE STREET, SUITE 240
                                                    HOUSTON, TX 77002




OKLAHOMA CORPORATION COMMISSION                     OKLAHOMA CORPORATION COMMISSION MOEA TR
2101 NORTH LINCOLN BLVD.                            2101 N LINCOLN BLVD RM 460
OKLAHOMA CITY, OK 73105                             OKLAHOMA CITY, OK 73105-4904




OKLAHOMA COUNTY TREASURER                           OKLAHOMA DEPARTMENT OF WILDLIFE CONSERVATION
ATTN TAMMY JONES                                    1801 N LINCOLN
320 ROBERT S. KERR, ROOM 307                        OKLAHOMA CITY, OK 73105
OKLAHOMA, OK 73102




OKLAHOMA DEPT OF ENVIRONMENTAL QUALITY              OKLAHOMA DEPT OF ENVIRONMENTAL QUALITY
707 N ROBINSON                                      PO BOX 1677
OKLAHOMA CITY, OK 73102                             OKLAHOMA CITY, OK 73101-1677
                Case 20-33233 Document 1448-3Master
                                               Filed Service List
                                                     in TXSB on   (as of 10/19/2020
                                                                10/19/20             06:00:31)
                                                                         Page 26 of 35

ORENSTEIN LAW GROUP, P.C.                            ORRICK, HERRINGTON & SUTCLIFFE LLP
COUNSEL FOR DALLAS/FORT WORTH INTERNATION AIRPORT    (COUNSEL FOR ROYAL BANK OF CANADA)
BOARD, CITY OF DALLAS, AND CITY OF FORT WORTH)       ATTN RYAN WOOTEN
ATTN ROSA R. ORENSTEIN, NATHAN M. NICHOLS            609 MAIN STREET
1201 ELM STREET, SUITE 4020                          40TH FLOOR
DALLAS, TX 75270                                     HOUSTON, TX 77002




ORRICK, HERRINGTON & SUTCLIFFE LLP                   PA DEPT OF ENVIRONMENTAL PROTECTION
(COUNSEL FOR ROYAL BANK OF CANADA)                   PO BOX 2833
ATTN RANIERO D'AVERSA, LAURA METZGER                 HARRISBURG, PA 17105-2833
51ST WEST 52ND STREET
NEW YORK, NY 10019-6142




PADFIELD & STOUT, L.L.P.                             PARK ENERGY SERVICES LLC
(COUNSEL FOR JOHN E. JOHNSON AND JOHNSON OIL         JOHN D. SELDENRUST
PARTNERSHIP)                                         1015 NORTH BROADWAY AVENUE
ATTN JOHN E. JOHNSON                                 SUITE 301
705 ROSS AVENUE                                      OKLAHOMA CITY, OK 73102
DALLAS, TX 75202




PATEL GAINES, PLLC                                   PATTERSON-UTI DRILLING COMPANY LLC
(COUNSEL FOR KIDWILL, STOCKYARDS, FFW, AND TCB)      ANDREW HENDRICKS
ATTN LANCE H. "LUKE" BESHARA                         10713 WEST SAM HOUSTON PKW NORTH
221 WEST EXCHANGE, SUITE 206A                        SUITE 800
FORT WORTH, TX 76164                                 HOUSTON, TX 77064




PATTTERSON BELKNAP WEBB & TYLER LLP                  PAUL HASTINGS LLP
(COUNSEL FOR BRANDES INVESTMENT PARTNERS, L.P.)      (COUNSEL FOR MUFG)
ATTN DANIEL K. LOWENTHAL, LANCE M. KODISH            ATTN BROOCKS M. WILSON
1133 AVENUE OF THE AMERICAS                          600 TRAVIS STREET, FIFTY-EIGHTH FLOOR
NEW YORK, NY 10036                                   HOUSTON, TX 77002
               Case 20-33233 Document 1448-3Master
                                              Filed Service List
                                                    in TXSB on   (as of 10/19/2020
                                                               10/19/20             06:00:31)
                                                                        Page 27 of 35

PAUL HASTINGS LLP                                   PENNSYLVANIA DEPT OF
(COUNSEL FOR MUFG)                                  ENVIRONMENTAL PROTECTION
ATTN JUSTIN RAWLINS, AARON GOBER-SIMS               RACHEL CARSON STATE OFFICE BLDG
515 SOUTH FLOWER STREET                             400 MARKET ST
TWENTY-FIFTH FLOOR                                  HARRISBURG, PA 17101
LOS ANGELES, CA 90071




PENNSYLVANIA FISH & BOAT COMMISSION                 PENNSYLVANIA OFFICE OF ATTORNEY GENERAL
PO BOX 67000                                        ATTN JOSH SHAPIRO
HARRISBURG, PA 17106-7000                           SENIOR DEPUTY ATTORNEY GENERAL
                                                    STRAWBERRY SQUARE, 14TH FLOOR
                                                    HARRISBURG, PA 17120




PERDUE, BRANDON, FIELDER, COLLINS & MOTT, L.L.P.    PERDUE, BRANDON, FIELDER, COLLINS & MOTT, L.L.P.
(COUNSEL FOR SHELDON INDEPENDENT SCHOOL DISTRICT)   (COUNSEL FOR DAWSON COUNTY CENTRAIL APPRAISAL
ATTN OWEN M. SONIK                                  DISTRICT, MIDLAND COUNTY, UPTON COUNTY APPRAISAL
1235 NORTH LOOP WEST                                DISTRICT)
SUITE 600                                           ATTN LAURA J. MONROE
HOUSTON, TX 77008                                   PO BOX 817
                                                    LUBBOCK, TX 79408




PINNERGY LTD                                        PORTER HEDGES LLP
JUSTIN TAYLOR                                       (COUNSEL TO GLASS MOUNTAIN PIPELINE, LLC)
111 CONGRESS AVENUE                                 ATTN JOSHUA WOLFHOHL, ESQ.
SUITE 2020                                          1000 MAIN STREET, 36TH FLOOR
AUSTIN, TX 78701                                    HOUSTON, TX 77002




PRA RECEIVABLES MANAGEMENT                          QUINN EMANUEL URQUHART & SULLIVAN LLP
(ON BEHALF OF SYNCHRONY BANK)                       (COUNSEL FOR BRIGAGE)
ATTN VALERIE SMITH                                  ATTN PATRICA B. TOMASCO, CHRISTOPHER PORTER, DEVI
PO BOX 41021                                        VAN DER HAHN
NORFOLK, VA 23541                                   711 LOUISIANA STREET, SUITE 500
                                                    HOUSTON, TX 77002
                Case 20-33233 Document 1448-3Master
                                               Filed Service List
                                                     in TXSB on   (as of 10/19/2020
                                                                10/19/20             06:00:31)
                                                                         Page 28 of 35

QUINN EMANUEL URQUHART & SULLIVAN, LLP               RAILROAD COMMISSION OF TEXAS
(COUNSEL FOR BRIGADE)                                OIL & GAS DIVISION
ATTN BENJAMIN I. FINESTONE, KATE SCHERLING           PO BOX 12967
51 MADISON AVENUE, 22ND FLOOR                        AUSTIN, TX 78711-2967
NEW YORK, NY 10010




RAILROAD COMMISSION OF TEXAS                         REEVES COUNTY APPRAISAL DISTRICT
OIL & GAS DIVISION                                   PO BOX 1229
1701 N. CONGRESS                                     PECOS, TX 79772-1229
AUSTIN, TX 75701




RITCHESON, LAUFFER & VINCENT, P.C.                   ROLFSON OIL LLC
(COUNSEL FOR FRANK BLAZEK)                           JASON BURGER
ATTN CHARLES E. LAUFFER, JR.                         2414 SCHILKE DR
TWO AMERICAN CENTER                                  WATFORD CITY, ND 58854
821 ESE LOOP 323, SUITE 530
TYLER, TX 75701




ROSS & SMITH, PC                                     ROSS, BANKS, MAY, CRON & CAVIN, P.C.
(COUNSEL TO PETTY BUSINESS ENTERPISES, LP)           (COUNSEL FOR CATERPILLAR FINANCIAL SERVICES CORP.)
ATTN ROSS & SMITH, PC                                ATTN JOHN MAYER
700 N. PEARL STREET, SUITE 1610                      7700 SAN FELIPE, SUITE 550
DALLAS, TX 75201                                     HOUSTON, TX 77063




SCHLUMBERGER TECHNOLOGY CORP                         SCOTT, DOUGLASS & MCCONNICO, LLP
OLIVIER LE PEUCH                                     (COUNSEL FOR CHASPEAKE EXPLORATION, LLC AND
3600 BRIARPARK DRIVE                                 CHESAPEAKE OPERATING, LLC)
HOUSTON, TX 77042                                    ATTN CHRISTOPHER D. SILEO, AMY L. DASHIELL,
                                                     ANTHONY J. ARGUIJO
                                                     303 COLORADO STREET, SUITE 2400
                                                     AUSTIN, TX 78701
                Case 20-33233 Document 1448-3Master
                                               Filed Service List
                                                     in TXSB on   (as of 10/19/2020
                                                                10/19/20             06:00:31)
                                                                         Page 29 of 35

SEABOARD INTERNATIONAL INC                           SEARCY & SEARCY, P.C.
TERRI CONNER                                         (COUNSEL FOR GENESIS ENDEAVORS, LLC)
13822 FURMAN ROAD                                    ATTN CALLAN C. SEARCY
SUITE J                                              P.O. BOX 3929
HOUSTON, TX 77047                                    LONGVIEW, TX 75606




SECURITIES AND EXCHANGE COMMISSION                   SECURITIES AND EXCHANGE COMMISSION
100 F STREET, NE                                     200 VESEY STREET
WASHINGTON, DC 20549                                 SUITE 400
                                                     NEW YORK, NY 10281




SHIPMAN & GOODWIN LLP                                SIDLEY AUSTIN LLP
(COUNSEL FOR GARTNER, INC.)                          (COUNSEL FOR MUFG UNION BANK, N.A.)
ATTN ERIC S. GOLDSTEIN, ESQ.                         ATTN: DUSTON MCFAUL, MAEGAN QUEJADA
0NE CONSTITUTIONAL PLAZA                             1000 LOUISIANA STREET, SUITE 5900
HARTFORD, CT 06103-1919                              HOUSTON, TX 77002




SIDLEY AUSTIN LLP                                    SOUTH TEXAS FENCING & TRENCHING SVS
(COUNSEL FOR MUFG UNION BANK, N.A.)                  ARMANDO BENAVIDES
ATTN: JENNIFER C. HAGLE, ALLISON ROSS STROMBERG,     3248 W HIGHWAY 44
JACKSON T. GARVEY                                    ALICE, TX 78332
555 WEST FIFTH STREET
LOS ANGELES, CA 90013




STATE OF ALABAMA OIL & GAS BOARD                     STATE OF LOUISIANA OFFICE OF
420 HACKBERRY LANE                                   CONSERVATION
TUSCALOOSA, AL 35401                                 617 N 3RD STREET
                                                     LASALLE BUILDING
                                                     BATON ROUGE, LA 70802
                Case 20-33233 Document 1448-3Master
                                               Filed Service List
                                                     in TXSB on   (as of 10/19/2020
                                                                10/19/20             06:00:31)
                                                                         Page 30 of 35

STATE OF NEW JERSEY DIVISION OF TAXATION             SUSQUEHANNA GAS FIELD SERVICES LLC
PO BOX 666                                           BILL RUARK
TRENTON, NJ 08646-0666                               131 FRANTZ ROAD, BOX 127
                                                     MESHOPPEN, PA 18630




SUSQUEHANNA RIVER BASIN COMMISSION                   TAX EXECUTIVES INSTITUTE OKLAHOMA CITY CHAPTER
4423 NORTH FRONT STREET                              1200 G ST NW, STE 300
HARRISBURG, PA 17110                                 WASHINGTON, DC 20005




TENNESSEE DEPT OF                                    TETRA TECHNOLOGIES
ENVIRONMENT & CONSERVATION                           ELIJIO V. SERRANO
312 ROSA L PARK AVE                                  24955 INTERSTATE 45 NORT
TN TOWER - 2ND FL                                    THE WOODLANDS, TX 77380
NASHVILLE, TN 37243




TEXAS COMMISSION ON                                  TEXAS COMMISSION ON
ENVIRONMENTAL QUALITY                                ENVIRONMENTAL QUALITY
12100 PARK 35 CIRCLE                                 PO BOX 13087
AUSTIN, TX 78753                                     AUSTIN, TX 78711-3087




TEXAS FUELING SERVICES INC                           TEXAS RAILROAD COMMISSION
MASON DUNCAN                                         RAILROAD COMMISSSION OF TEXAS
4220 LAURA KOPPE                                     1701 N. CONGRESS
HOUSTON, TX 77016-5029                               AUSTIN, TX 78701
                Case 20-33233 Document 1448-3Master
                                               Filed Service List
                                                     in TXSB on   (as of 10/19/2020
                                                                10/19/20             06:00:31)
                                                                         Page 31 of 35

THE BANK OF NEW YORK MELLON TRUST CO, NA             THE BANK OF NEW YORK MELLON TRUST CO, NA
THOMAS P. GIBBONS                                    THOMAS P. GIBBONS
2 N. LASALLE STREET                                  2 N. LASALLE STREET
SUITE 1020                                           SUITE 1020
CHICAGO, IL 60602                                    CHICAGO, IL 60602




THE BANK OF NEW YORK MELLON TRUST CO, NA             THE BANK OF NEW YORK MELLON TRUST COMPANY, N.A.
THOMAS P. GIBBONS                                    ATTN GARY BUSH
2 N. LASALLE STREET                                  240 GREENWICH STREET, 7TH FLOOR
SUITE 1020                                           NEW YORK, NY 10286
CHICAGO, IL 60602




THE BANK OF NEW YORK TRUST COMPANY, N.A.             THE LAW OFFICE OF MARK A. WEISBART
2 N. LASALLE STREET                                  (COUNSEL FOR MESA NATURAL GAS SOLUTIONS, LLC)
SUITE 1020                                           ATTN MARK A. WEISBART, ESQ.
CHICAGO, IL 60602                                    12770 COIT RD., SUITE 541
                                                     DALLAS, TX 75251




THE WILLIAMS COMPANIES, INC.                         THOMPSON, O'BRIEN, KEMP & NASUTI, P.C.
ATTN TYLER EVANS                                     (COUNSEL FOR MANSFIELD OIL COMPANY OF GAINESVILLE
ONE WILLIAMS CENTER, SUITE 4700                      INC)
TULSA, OK 74172                                      ATTN: ALBERT F. NASUTI, ESQ.
                                                     40 TECHNOLOGY PARKWAY SOUTH, SUITE 300
                                                     PEACHTREE CORNERS, GA 30092




THRU TUBING SOLUTIONS INC                            TOTAL E&P USA INC
ROGER SCHULTZ                                        JEAN-PIERRE SBRAIRE
11515 S. PORTLAND AVE.                               1201 LOUISIANA STREET
OKLAHOMA CITY, OK 73170                              SUITE 1800
                                                     HOUSTON, TX 77002
                Case 20-33233 Document 1448-3Master
                                               Filed Service List
                                                     in TXSB on   (as of 10/19/2020
                                                                10/19/20             06:00:31)
                                                                         Page 32 of 35

TREVINO HAYNES, LLP                                  U.S. ATTORNEY'S OFFICE, SOUTHERN DISTRICT OF TX
(COUNSEL FOR HOWLAND ENGINEERING AND SURVEYING CO)   (COUNSEL FOR FERC)
ATTN ALISON WHITE HAYNES                             ATTN RICHARD A. KINCHELOE
3910 E. DEL MAR BLVD., SUITE 107                     1000 LOUISIANA ST., SUITE 2300
LAREDO, TX 78045                                     HOUSTON, TX 77002




U.S. BANK NATIONAL ASSOCIATION                       U.S. DEPARTMENT OF JUSTICE
ANDREW CECERE                                        (COUNSEL FOR THE U.S. DEPARTIMENT OF THE INTERIOR)
8 GREENWAY PLAZA, SUITE 1100                         ATTN TIFFINEY CARNEY
CORPORATE TRUST SERVICES                             CIVIL DIVISION
HOUSTON, TX 77046                                    P.O. BOX 875 - BEN FRANKLIN STATION
                                                     WASHINGTON, DC 20044-0875




UNION PACIFIC RAILROAD COMPANY                       UNION PACIFIC RAILROAD COMPANY
ATTN DANIEL A. LEIS                                  ATTN TONYA W. CONLEY, LILA L. HOWE
1400 DOUGLAS STREET, STOP 1690                       1400 DOUGLAS STREET, STOP 1580
OMAHA, NE 68179                                      OMAHA, NE 68179




UNITED STATES BUREAU OF INDIAN AFFAIRS               UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
DEPARTMENT OF THE INTERIOR                           1200 PENNSYLVANIA AVENUE, N.W.
1849 C STREET NW                                     WASHINGTON, DC 20460
MS-4606
WASHINGTON, DC 20240




UNITED STATES ENVIRONMENTAL SERVICES, L.L.C.         UNITED STATES ENVIRONMENTAL SERVICES, L.L.C.
14950 HEATHROW FOREST PARKWAY STE 470                365 CANAL STREET, SUITE 2500
HOUSTON, TX 77032                                    NEW ORLEANS, LA 70130
                 Case 20-33233 Document 1448-3Master
                                                Filed Service List
                                                      in TXSB on   (as of 10/19/2020
                                                                 10/19/20             06:00:31)
                                                                          Page 33 of 35

UNITED STATES SECURITY AND EXCHANGE COMMISSION        US ARMY CORPS OF ENGINEERS
ATTN JOLENE M. WISE                                   441 G STREET NW
75 W. JACKSON BLVD. SUITE 1450                        WASHINGTON, DC 20314-1000
CHICAGO, IL 60604




US ATTORNEY'S OFFICE                                  USA COMPRESSION PARTNERS LLC
SOUTHERN DISTRICT OF TEXAS                            JIM JONES
1000 LOUISIANA STE 2300                               111 CONGRESS AVENUE
HOUSTON, TX 77002                                     SUITE 2400
                                                      AUSTIN, TX 78701




USDA OFFICE OF THE GENERAL COUNSEL                    UTAH DEPARTMENT OF NATURAL RESOURCES
(COUNSEL FOR THE US FOREST SERVICE)                   DIVISION OF OIL, GAS, AND MINING
ATTN STEVE HIRSCH                                     1594 WEST NORTH TEMPLE, SUITE 1210
ROOM 107W WHITTEN BUILDING                            PO BOX 145801
1400 INDEPENDENCE AVE, SW                             SALT LAKE CITY, UT 84114
WASHINGTON, DC 20250-1400




UTAH DEPT OF ENVIRONMENTAL QUALITY                    UTAH DEPT OF ENVIRONMENTAL QUALITY
195 NORTH 1950 WEST                                   PO BOX 144810
SALT LAKE CITY, UT 84114                              SALT LAKE CITY, UT 84114-4810




VALVEWORKS USA INC                                    VICTORIA COUNTY TAX A/C
RICK ROBERTS                                          PO BOX 2569
1650 SWAN LAKE ROAD                                   VICTORIA, TX 77902-2569
BOSSIER CITY, LA 71111
                Case 20-33233 Document 1448-3Master
                                               Filed Service List
                                                     in TXSB on   (as of 10/19/2020
                                                                10/19/20             06:00:31)
                                                                         Page 34 of 35

VIRGINIA DEPT OF ENVIRONMENTAL QUALITY               VIRGINIA DEPT OF ENVIRONMENTAL QUALITY
629 E MAIN ST                                        PO BOX 1105
RICHMOND, VA 23218                                   RICHMOND, VA 23218




VIRIGNIA DEPARTMENT OF MINES MINERALS AND ENERGY     WALLER LANSDEN DORTCH & DAVIS, LLP
DIVISION OF GAS AND OIL                              (COUNSEL TO BRISCOE RANCH, INC AND RANCHO LA
3405 MOUNTAIN EMPIRE RD                              COCHINA MINERALS, LTD.)
PO DRAWER 900                                        ATTN MARK C. TAYLOR
BIG STONE GAP, VA 24219                              100 CONGRESS AVE., SUITE 1800
                                                     AUSTIN, TX 78701




WEST VIRGINIA DIVISION OF                            WEST VIRGINIA SECRETARY OF STATE
ENVIRONMENTAL PROTECTION                             CORPORATIONS DIVISION
601 57TH ST SE                                       1900 KANAWHA BLVD EAST BLDG 1 STE 157K
CHARLESTON, WV 25304                                 CHARLESTON, WV 25305-0770




WHITAKER CHALK SWINDLE & SCHWARTZ PLLC               WIENER, WEISS & MADISON, APC
(COUNSEL FOUR P FAMILY HOLDINGS, LP AND BYRD         (COUNSEL FOR CADDO PARISH)
FAMILY LIMITED PARTNERSHIP)                          ATTN PATRICK L. MCCUNE
ATTN D. PRICHARD BEVIS, JR.                          445 LOUISIANA AVENUE
301 COMMERCE STREET, SUITE 3500                      BATON ROUGE, LA 70802
FORT WORTH, TX 76102




WIENER, WEISS & MADISON, APC                         WILLIAMS COMPANIES INC
(COUNSEL FOR CADDO PARISH, IDB OF CADDO PARISH)      ALAN S. ARMSTRONG
P.O. BOX 21990                                       ONE WILLIAMS CENTER
SHREVEPORT, LA 71120-1990                            PO BOX 2400
                                                     TULSA, OK 74102-2400
               Case 20-33233 Document 1448-3Master
                                              Filed Service List
                                                    in TXSB on   (as of 10/19/2020
                                                               10/19/20             06:00:31)
                                                                        Page 35 of 35

WILMINGTON SAVINGS FUND SOCIETY, FSB                WINSTEAD PC
ATTN PATRICK J. HEALY                               (COUNSEL FOR WELLS FARGO BANK, NA)
500 DELAWARE AVENUE                                 ATTN: PHILLIP LAMBERSON, ANNMARIE CHIARELLO
WILMINGTON, DE 19801                                500 WINSTEAD BUILDING
                                                    2728 N. HARWOOD STREET
                                                    DALLAS, TX 75201




WV OIL & GAS CONSERVATION COMM                      WY OFFICE OF STATE LANDS
601 57TH ST SE                                      122 W 25TH ST
CHARLESTON, WV 25304-2300                           CHEYENNE, WY 82001-3004




WY OIL & GAS CONSERVATION FUND                      WYOMING BUREAU OF LAND MANAGEMENT
PO BOX 2640                                         2987 PROSPECTOR DR
CASPER, WY 82602-2640                               CASPER, WY 82604-2968




WYOMING DEPT OF ENVIRONMENTAL QUALITY               WYOMING OIL AND GAS
200 W 17TH ST                                       CONSERVATION COMMISSION
CHEYENNE, WY 82002                                  2211 KING BOULEVARD
                                                    CASPER, WY 82602
